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                                     Dtchrrch Crjorr              7:),s:fMhf- ^        ai.i-I-
                                            U.S. Dfsrwcr cwm

PL^-h'f'P: Jo^c^hln XilO '"'"'^FILEO^^
he^>^Ja.ir. UJArrJ<2/n ri'cJx.^rc) gf.'/u ^
•^ifpnh,     /jH-.Dc/a.



                 A^f/h'/-M f^r: -f-AjTt ,r t-t 'las /^eZ/VZ' ^                 /-h/'^3 A/>7<.
                                                                         ^               J

AJoUJ Ca/i^eT -7^ ,«• />//(/>7 A/^A                a.^/J                     !/raA^7^
/     ,               '                                                        C/
               tr.)               y-^\/ry'^(         f/z/^Z/v        r          T% ^
C}P/tSAV~E^-f7^Ci^    1 T?    ^/~li i /Vf%
/Z^        €A^y?(J/'^^T'S' U/r^ryJ^^                  ^
               'Por            Incnc^yh/Pi                                     a/^/"
 his 77-^1^ MJ p/^Ton                                             (py/'rJ^rfJ /R.
-7^            A/, Ar)u/P PpK7^=? l3>r^a rP.                        9n r)/7^ A /of^.
l/lOlci Pun                               . ~77to /[i ^, ?yr)r Af*P/rpK
•fz asl^^ Hpa vUthP/P Ci/iy M4£rJfh/J . zz^ D-e^-Zn/-
h)'^-aZmpyj P-         P^rAUS>        A^S" r>.>7            c:^                  DU
   ij'T lAja.^        PatH 7Aj^ 9&'P^                       •
TX^ Pp/hh^ /": StjhyPp/^jT,                           /?/>^/^/f/
                 f-UPiPP Anrj f:jp        -r^^vy           ""1^     HA/j A-ZAK
  Un/-A         7~h../S   At-c)      ^r        A           y/o/nAh^
   hfs 0J2p ZlAle jn AMiPAA Pcj TA p>
Ph.p 7)/nfy/^Ar'/Z                                                            ^A ^ tA
 .    /                            c/                                            J
PiCLUf PpA                    H                                                7^ P-
  PPt/hA/P Fi/nr.nm      Tli    ro^J/'AVpn^                                  ^yp APr
 rorz-y^yin (^nyAy, y/i4(yy7-y.
 ^                                    '                           --7
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